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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                v.                              :       CRIMINAL NO. 21-cr-399 (RDM)
                                                :
ROMAN STERLINGOV,                               :
                                                :
                        Defendant.              :

                                               ORDER

        Upon consideration of the parties’ submissions, including the notices and motions docketed

at ECF No. 121 and ECF No. 125, in light of Local Criminal Rule 57.7(b), and for good cause

shown, it is hereby

        ORDERED, pursuant to Local Criminal Rule 57.7(b) and (c), to safeguard the defendant’s

right to a fair trial, and to ensure that the Court can seat a jury that has not been tainted by pretrial

publicity, all attorneys for the government and for the defendant shall not make any extrajudicial

statement in any public forum, to the media, or to any author, journalist, or member of the news

media, commenting on the merits of the case or the evidence of the case, or commenting on the

identity, testimony, or credibility of prospective witnesses, or that otherwise will interfere with a

fair trial or otherwise prejudice the due administration of justice from the date of this Order until

the commencement of trial or disposition without trial in this case.

Dated this ______ day of June, 2023.




                                                        RANDOLPH D. MOSS
                                                        UNITED STATES DISTRICT JUDGE
